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                        United States District Court
                         SOUTHERN DISTRICT OF CALIFORNIA



Paul Gugger                                                                 FILED
                                                                              3/1/2018
                                         Plaintiff,
                                                                      CLERK U.S. DISTRICT COURT
                                  V.                               SOUTHERN DISTRICT OF CALIFORNIA
USAA Federal Savings Bank et al                                    BY:           A. Corsello , Deputy




                                       Defendant.
                                                             Civil No. 17-cv-1518-AJB-AGS




                                  STRICKEN DOCUMENT:
                                          Notice of Errata




                                       Per Order #      38




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